                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,                           )
CONNIE BRAUN CASEY, individually,                      )
ANDREW SAWYER, individually, and                       )
JANE DOES 1 and 2,                                     )
                                                       )
        Plaintiffs and Counterclaim                    )
        Defendants,                                    )
                                                       )        Case No. 4:16-cv-02163
v.                                                     )
                                                       )
PEOPLE FOR THE ETHICAL                                 )
TREATMENT OF ANIMALS, INC. and                         )
ANGELA SCOTT a/k/a ANGELA G.                           )
CAGNASSO, individually,                                )
                                                       )
        Defendants and                                 )
        Counterclaim Plaintiffs.                       )
                                                       )

                             MOTION FOR LEAVE TO WITHDRAW
        COME NOW counsel for Plaintiff/Counterclaim Defendant Connie Braun Casey

(“Plaintiff”), Daniel T. Batten, Brian D. Klar, and the law firm of Klar, Izsak & Stenger, LLC

(“Plaintiff’s Counsel”), and hereby respectfully move for this Court’s Order granting Plaintiff’s

Counsel leave to withdraw their representation of Plaintiff. In support of this Motion, Plaintiff’s

Counsel states as follows:

        1.      Plaintiff has terminated Plaintiff’s Counsel’s representation and has discharged

Plaintiff’s Counsel in this case. Plaintiff has also failed substantially to fulfill Plaintiff’s ongoing

financial obligations to Plaintiff’s Counsel, and Plaintiff has been given reasonable notice that

Plaintiff’s Counsel must withdraw in the absence of Plaintiff’s fulfillment of those obligations.

        2.      Plaintiff’s Counsel’s withdrawal can be accomplished without materially adversely

effecting Plaintiff’s interests.
       WHEREFORE, Counsel for Plaintiff/Counterclaim Defendant Connie Braun Casey

(“Plaintiff”), Daniel T. Batten, Brian D. Klar, and the law firm of Klar, Izsak & Stenger, LLC,

respectfully pray that this Court grant the instant Motion instanter, allow them to withdraw, and

for such other and further relief as this Court deems just and proper.

 Dated this 22nd day of August, 2018.

                                                      Respectfully Submitted,

                                                      KLAR, IZSAK & STENGER, L.L.C.

                                              By:     /s/ Brian D. Klar______
                                                      BRIAN D. KLAR, #36430
                                                      DANIEL T. BATTEN, #58810
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                              CERTIFICATE OF SERVICE

I hereby certify that on August 22, 2018, the foregoing was electronically filed with the Clerk
of the Court using the CM/ECF system, by which notification of such filing was electronically
sent and served via first class mail, postage prepaid, to the following:


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                                                                   /s/ Brian D. Klar
